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                   UNITED STATES BANKRUPTCY COURT FOR THE
                         SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

IN RE:                                          §           BANKRUPTCY CASE NO.
                                                §
KORNBLUTH TEXAS, LLC                            §           21-32261
                                                §
                DEBTOR                          §           Chapter 11

      EMERGENCY MOTION FOR AUTHORITY TO USE CASH COLLATERAL

     IF YOU WANT A HEARING, YOU MUST REQUEST ONE IN WRITING, AND
YOU MUST RESPOND SPECIFICALLY TO EACH PARAGRAPH OF THIS
PLEADING. YOU MUST FILE YOUR RESPONSE WITH THE CLERK OF THE
BANKRUPTCY COURT WITHIN TWENTY-ONE DAYS FROM THE DATE YOU
WERE SERVED AND GIVE A COPY TO THE PERSON WHO SENT YOU THE
NOTICE; OTHERWISE, THE COURT MAY TREAT THE PLEADING AS UNOPPOSED
AND GRANT THE RELIEF.

      IF A PARTY REQUESTS EMERGENCY CONSIDERATION, THE COURT MAY
ACT EXPEDITIOUSLY ON THE MATTER. IF THE COURT ALLOWS A SHORTER
RESPONSE TIME THAN TWENTY-ONE DAYS, YOU MUST RESPOND WITHIN
THAT TIME. IF THE COURT SETS AN EMERGENCY HEARING BEFORE THE
RESPONSE TIME WILL EXPIRE, ONLY ATTENDANCE AT THE HEARING IS
NECESSARY TO PRESERVE YOUR RIGHTS. IF AN EMERGENCY HEARING IS NOT
SET, YOU MUST RESPOND BEFORE THE RESPONSE TIME EXPIRES.

     EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS
THE MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21
DAYS TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU
BELIEVE THAT THE EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU
SHOULD FILE AN IMMEDIATE RESPONSE.

       REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

To the Honorable Christopher M. Lopez United States Bankruptcy Judge:

       COMES NOW KORNBLUTH TEXAS, LLC, Debtor, and files this its Emergency Motion

for Authority to Use Cash Collateral, and in support thereof would respectfully state as follows:

       1.       Movant is the Debtor and Debtor in Possession herein.
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       2.       Debtor is indebted to the Wilmington Trust, National Association, as Trustee for

the benefit of the registered holders of Wells Fargo Commercial Mortgage Trust 2016-LC25,

Commercial Mortgage Pass-Through Certificates, Series 2016-LC25, by and through its special

servicer, LNR Partners, LLC, and the Small Business Administration, which requires this

emergency motion.

       3.       Debtor needs to continue its business in order to propose a plan of reorganization.

       4.       Debtor has no alternative borrowing source and to remain in business must be

allowed to use its funds collected from normal business operations to pay its payroll, utilities,

supplies, franchise fees, State and local tax, internet and cable, maintenance supplies, food and

beverage supplies, insurance, 401k fees, and uniforms.

       5.       This motion is an emergency motion under Bankruptcy Rule 4001(b)(2). Pending

a final hearing on the relief requested by this motion, the Debtor needs to use the cash collateral to

avoid immediate and irreparable harm to the estate in that absent such use the Debtor would be

required to cease operations and not be able to meet its financial obligations.

       6.       The cash collateral at issue herein is income from Debtor’s regular business. The

Debtor is requesting authorization for use of cash collateral for 14 days in the amount of

$77,000.00. Obviously, the Debtor consent to giving Wilmington Trust, National Association, as

Trustee for the benefit of the registered holders of Wells Fargo Commercial Mortgage Trust 2016-

LC25, Commercial Mortgage Pass-Through Certificates, Series 2016-LC25, by and through its

special servicer, LNR Partners, LLC, and the Small Business Administration replacement liens.

       7.       This motion is being filed as an emergency motion since the Debtor cannot spend

any money until this motion is heard and granted and the Debtor requests that a hearing be set

within a reasonable period of time. The undersigned certifies that an emergency does exist.
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        WHEREFORE, premises considered, the Debtor respectfully moves this Honorable Court

to authorize the Debtor’s use of cash collateral on an emergency basis and at a final hearing, and

for such other and further relief as is just.


                                                      Respectfully submitted,
                                                         /s/ Margaret M. McClure
                                                      MARGARET M. MCCLURE
                                                      State Bar No. 00787997
                                                      25420 Kuykendahl Rd, Suite B300-1043
                                                      The Woodlands, Texas 77375
                                                      (713) 659-1333
                                                      (713) 658-0334 (fax)
                                                      E-mail: Margaret@mmmcclurelaw.com
                                                      ATTORNEY FOR DEBTOR




                                   CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Motion was served on all parties in interest
as set out on the attached matrix either electronically or by U.S. mail or fax on July 5, 2021.



                                                             /s/ Margaret M. McClure
                                                             MARGARET M. MCCLURE
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                            EXHIBIT "A"
                       Kornbluth Texas, LLP
                             Budget

Income                          Total 1-14 Days      30 days
Gross Monthly Income                   122,000.00       279,000.00
                        Total          122,000.00       279,000.00

Expenses                        Total 1-14 Days      30 days
Employee Payroll                        24,000.00        49,000.00
State and Local Tax                     13,000.00        25,000.00
Utilities                                 7,500.00       15,000.00
Supplies                                  7,500.00       15,000.00
Maintenance Supplies                      5,000.00       10,000.00
Franchise                                 8,000.00       15,000.00
Internet & Cable                          2,500.00        5,000.00
Insurance                                   600.00          600.00
Food & Beverage Supplies                  4,500.00        9,000.00
Uniforms                                    125.00          250.00
Unexpected Expense                        2,500.00        5,000.00
401K                                      1,000.00        2,000.00
               Total Expenses           76,225.00       150,850.00
                   Net Income           45,775.00       128,150.00
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Label Matrix for local noticing                      Kornbluth Texas, LLC                                 4
0541-4                                               302 W. Bay Area Blvd.                                United States Bankruptcy Court
Case 21-32261                                        Webster, TX 77598-4116                               PO Box 61010
Southern District of Texas                                                                                Houston, TX 77208-1010
Houston
Mon Jul 5 09:28:54 CDT 2021
Harris County, et al                                 Harris County, et al                                 Harris County, et al
P.O. Box 3547                                        P.O. Box 4622                                        c/o Mr. John P. Dillman
Houston, TX 77253-3547                               Houston, TX 77210-4622                               P.O. Box 3064
                                                                                                          Houston, TX 77253-3064


Texas Comptroller of Public Accounts                 (p)TEXAS COMPTROLLER OF PUBLIC ACCOUNTS              Texas Comptroller of Public Accounts
111 E. 17th Street                                   REVENUE ACCOUNTING DIV - BANKRUPTCY SECTION          c/o Office of the Attorney General
Austin, TX 78774-0100                                PO BOX 13528                                         P.O. Box 12548
                                                     AUSTIN TX 78711-3528                                 Austin, TX 78711-2548


U.S. Small Business Administration                   US Trustee                                           Wilmington Trust, NA
10737 Gateway West, Suite 300                        Office of the US Trustee                             1100 North Market Street
El Paso, TX 79935-4910                               515 Rusk Ave                                         Wilmington, DE 19890-0001
                                                     Ste 3516
                                                     Houston, TX 77002-2604

Wilmington   Trust, NA                               Margaret Maxwell McClure
c/o Debbie   E. Green/Mark L. Patterson              Attorney at Law
2501 North   Harwood Street, Suite 1900              25420 Kuykendahl
Dallas, TX   75201-1664                              Suite B300-1043
                                                     The Woodlands, TX 77375-3405



                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Texas Comptroller of Public Accounts
P.O. Box 149359
Austin, TX 78714-9359




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Kornbluth Texas, LLC                              End of Label Matrix
302 W. Bay Area Blvd.                                Mailable recipients      13
Webster, TX 77598-4116                               Bypassed recipients       1
                                                     Total                    14
